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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

 In Re:

 HAJJAR BUSINESS HOLDINGS, LLC, et al., Case No. 20-12465 (JKS)

              Debtors.                                    Adv. Proc. No. 21- 01233 (JKS)
 Hajjar Warehouse of Hackensack, LLC
                                                          Chapter 11
                  Plaintiff,
 v.                                                       Judge: Honorable John K. Sherwood

 National Metering Services, Inc.

                  Defendant.

           NOTICE OF PROPOSED COMPROMISE or SETTLEMENT OF CONTROVERSY

Hajjar Warehouse of Hackensack, LLC (the “Plaintiff”), in this case proposes a compromise, or to settle a claim
and action as described below. If you object to the settlement or compromise, you must file a written objection
with the Clerk of the United States Bankruptcy Court and serve it on the person named below not later than 7
days before the hearing date.

 Address of Clerk:             United States Bankruptcy Court
                               50 Walnut Street, 3rd Floor
                               Newark New Jersey 07102

If an objection is filed, a hearing will be held before the Honorable John K. Sherwood, U.S.B.J., on February 8,
2022, at 10:00 a.m., at the United States Bankruptcy Court, 50 Walnut Street, Newark, New Jersey 07102
(hearing to be scheduled for at least 28 days from the date of the filing of the notice). If no objection is filed,
the clerk will enter a Certification of No Objection, and the settlement may be completed as proposed.

 Nature of action:

 On April 6, 2021, the Plaintiff initiated Adv. Proc. No. 21-01233 (JKS) (the “Adversary Proceeding”)
 against National Metering Services, Inc. (the “Defendant”) to recover property of the estate pursuant to 11
 U.S.C. §§ 541 and 542 and objecting to proof of claim pursuant to 11 U.S.C.§ 502.

 Pertinent terms of settlement: After negotiations by and between Hajjar Hackensack and National
 Metering, the parties wish to resolve any and all claims in the Adversary Proceeding. The terms are as
 follows:

         The Defendant shall pay the sum of $38,000.00, less a credit of $6,766.00 (representing the security
          deposit), in the amount of $31,234 (the “Settlement Amount”) to the Plaintiff in full and final
          settlement, satisfaction and release of any and all claims in the Adversary Proceeding.

         The Settlement Amount shall be made within thirty (30) days by check.
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         The Adversary Proceeding shall be dismissed and the parties shall exchange mutual releases upon
          approval of the settlement by order of court and payment upon clearing of the check.


Objections must be served on, and requests for additional information directed to:
Name:                       Anthony Sodono, III, Esq., McManimon, Scotland & Baumann, LLC
                            /s/ Anthony Sodono, III
Address:                    75 Livingston Avenue, Suite 201, Roseland, NJ 07068
Telephone No.:              (973) 622-1800




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